Case 3:09-cr-00434-REP Document 99 Filed 08/20/12 Page 1 of 10 PageID# 434
Case 3:09-cr-00434-REP Document 99 Filed 08/20/12 Page 2 of 10 PageID# 435
Case 3:09-cr-00434-REP Document 99 Filed 08/20/12 Page 3 of 10 PageID# 436
Case 3:09-cr-00434-REP Document 99 Filed 08/20/12 Page 4 of 10 PageID# 437
Case 3:09-cr-00434-REP Document 99 Filed 08/20/12 Page 5 of 10 PageID# 438
Case 3:09-cr-00434-REP Document 99 Filed 08/20/12 Page 6 of 10 PageID# 439
Case 3:09-cr-00434-REP Document 99 Filed 08/20/12 Page 7 of 10 PageID# 440
Case 3:09-cr-00434-REP Document 99 Filed 08/20/12 Page 8 of 10 PageID# 441
Case 3:09-cr-00434-REP Document 99 Filed 08/20/12 Page 9 of 10 PageID# 442
Case 3:09-cr-00434-REP Document 99 Filed 08/20/12 Page 10 of 10 PageID# 443
